Application for Multi-Court Exemption from the

Judicial Conference's Electronic Public Access (EPA) Fees

1.) I am requesting an exemption from fees for public access to electronic case records for the courts

selected below:
Courts of Appeal

[_] All Courts of Appeal
[_] First Circuit

[_] Second Circuit

[] Third Circuit

{_] Fourth Circuit

[_] Fifth Circuit

[] Sixth Circuit

District Courts
[_] All District Courts
[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
[] Alaska
[] Arizona
[_] Arkansas Eastern
[_] Arkansas Western
[_] California Central
[_] California Eastern
[_] California Northern
[_] California Southern
[-] Colorado
[_] Connecticut
[_] Delaware
[_] District of Columbia
[_] Florida Middle
[_] Florida Northern
[_] Florida Southern
[_] Georgia Northern
[_] Georgia Middle
[-] Georgia Southern

[] Guam
[-] Hawaii
[] Idaho

[_] Seventh Circuit
[_] Eighth Circuit
(J Ninth Circuit
[_] Tenth Circuit
[[] Eleventh Circuit
[-] D.C. Circuit

[_] Federal Circuit

[[] Illinois Northern
[_] Illinois Central

[_] Ilinois Southern
[_] Indiana Northern
[_] Indiana Southern
[_] towa Northern

[_] lowa Southern

[_] Kansas

[_] Kentucky Eastern
[_] Kentucky Western
[_] Louisiana Eastern
[_] Louisiana Middle
["] Louisiana Western
[_] Maine

[-] Maryland

[_] Massachusetts
[-] Michigan Eastern
[_] Michigan Western
[-] Minnesota

[] Mississippi Northern
[_] Mississippi Southern
[_] Missouri Eastern
[_] Missouri Western
[-] Montana

[_] First Circuit - BAP
[_] Sixth Circuit - BAP
[] Eighth Circuit - BAP
[_] Ninth Circuit - BAP
[_] Tenth Circuit - BAP

[-] Nebraska

[_] Nevada

[-] New Hampshire

[_] New Jersey

[_] New Mexico

[-] New York Eastern

[_] New York Northern

[-] New York Southern

[_] New York Western

[_] North Carolina Eastern
[_] North Carolina Middle
[_] North Carolina Western
[-] North Dakota

[-] Northern Mariana Islands
[_] Ohio Northern

[_] Ohio Southern

[-] Oklahoma Eastern

[_] Oklahoma Northern
[_] Oklahoma Western
[_] Oregon

[_] Pennsylvania Eastern
[-] Pennsylvania Middle
[_] Pennsylvania Western
[_] Puerto Rico

Bankruptcy Appellate Panels (BAP)

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[_] Rhode Island

[_] South Carolina

[_] South Dakota

[-] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[-] Texas Northern

[_] Texas Southern

[_] Texas Western

[_] Utah

[-] Vermont

] Virgin Islands

[_] Virginia Eastern

[_] Virginia Western

[_] Washington Eastern
[_] Washington Western
[_] West Virginia Northern
[_] West Virginia Southern
[(-] Wisconsin Eastern
[_] Wisconsin Western

[_] Wyoming
 

Bankruptcy Courts

All Bankruptcy Courts

[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
[_] Alaska

[] Arizona

[_] Arkansas Eastern
[_] Arkansas Western
[_] California Central
[_] California Eastern
[] California Northern
[_] California Southern

[_] Colorado
[_] Connecticut

[_] Delaware

[_] District of Columbia
[_] Florida Middle

[_] Florida Northern
[] Florida Southern
[_] Georgia Northern
[_] Georgia Middle

{_] Georgia Southern

[-] Guam

[J Hawaii
[-] Idaho
National Courts

Judicial Panel on

[} Illinois Northern
[] Illinois Central

[_] Illinois Southern
[_] Indiana Northern
[_] Indiana Southern
[-] lowa Northern
[_] lowa Southern
[_] Kansas

[_] Kentucky Eastern
[_] Kentucky Western
[_] Louisiana Eastern
[_] Louisiana Middle
[-] Louisiana Western
[] Maine

[_] Maryland

[_] Massachusetts
[_] Michigan Eastern
[-] Michigan Western
[_] Minnesota

(_] Mississippi Northern
[_] Mississippi Southern
[_] Missouri Eastern
[_] Missouri Western
[-] Montana

U.S. Court of

O Multidistrict Litigation O Federal Claims

2.) Iam an individual associated with

O

[_] Nebraska

[_] Nevada

[-] New Hampshire

New Jersey

New Mexico

New York Eastern

New York Northern
New York Southern
New York Western
North Carolina Eastern
North Carolina Middle
[-] North Carolina Western
[_] North Dakota

[[] Northern Mariana Islands
[_] Ohio Northern

[_] Ohio Southern

[_] Oklahoma Eastern

[_] Oklahoma Northern
[_] Oklahoma Western
[_] Oregon

[_] Pennsylvania Eastern
[_] Pennsylvania Middle
[_] Pennsylvania Western
[_] Puerto Rico

OOOOOOOO

U.S. Court of
International Trade

[-] Rhode Island

[_] South Carolina

[_] South Dakota

[_] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[_] Texas Northern

[_] Texas Southern

[_] Texas Western

[_] Utah

[_] Vermont

[_] Virgin Islands

(_] Virginia Eastern

[] Virginia Western
[_] Washington Eastern

[-] Washington Western
[-] West Virginia Northern
[_] West Virginia Southern
[_] Wisconsin Eastern

[-] Wisconsin Western

[_] Wyoming

 

 

University of Illinois at Urbana-Champaign

 

 

 

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.

 

 

I am an Assistant Professor of Finance at the University of Illinois in Urbana-Champaign, with research expertise and peer-
reviewed publications in consumer bankruptcy and consumer finance. I am conducting research on the economic impacts of the
COVID-19 (coronavirus) outbreak on the financial health of consumers and small businesses, and would like to monitor and
analyze the effects of the virus outbreak in affected areas throughout the country. PACER data will be used to create daily and
weekly statistics on filing rates and case outcomes throughout affected regions around the nation. Due to the volume of cases filed
on a daily basis, a fee exemption is needed in order to generate these statistics without incurring unaffordable costs to the
University. Given the progressive nature of the virus outbreak, I am requesting fee exemption from all bankruptcy districts in order
to analyze all affected regions in a timely manner as the outbreak evolves.

 

 

 

 
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4.) In support of this application, I affirm the following:

a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
unreasonable burdens and to promote public access to information.

 

b) That the exemption will be for a definitive period of time: [3/16/2020 - 12/31/2021

 

 

 

c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
stated above, and will apply only to the electronic case files of the court(s) indicated above that are
available through the PACER service.

d) I agree that any data received through this exemption will not be sold for profit, will not be
transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

Declaration: | declare that all the above information is true and understand that a false statement
x} may result in termination of my exempt access and an assessment of Electronic Public Access
usage fees. (The box must be marked or your request will not be considered)

 

 

(217) 300-4697
Applicant's Phone Number

 

 

Jialan Wang

 

 

 

Applicant's Printed Name

 

 

jialanw@illinois.edu
Applicant's email address

 

 

Assistant Professor of Finance

 

 

 

 

 

340 Wohlers Hall, 1206 S. Sixth Street MC-706

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Applicanta Titls Applicant's Mailing Address
Jialan Wang ae Stns te 1831 00-0500 Champaign IL__| [61820
Applicant's Signature city State Pap Code
3-16-20
Date

Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:

Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD

One Columbus Circle, N.E.
Washington, DC 20544

** Requests sent through the US mail may take up to two weeks to clear security.**
